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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA )
                         )
vs.                      )
                         )                       CR. NO. 17-CR-37-01-JL
CHRISTOPHER CLOUGH       )


 ___________________________________________________________________

                         DEFENDANT’S INITIAL
                            WITNESS LIST
 ___________________________________________________________________

       NOW COMES the defendant, CHRISTOPHER CLOUGH, and by and through
his counsel, Patrick J. Richard, hereby submits his Initial Witness List for trial. The
defendant intends to call all or some of the following witnesses:
                                      Jessica Crane
                                 Takeda Pharmaceuticals


                                    Christopher Clough
                                        Dover, NH


                                      Dennis Driscoll
                                        Lowell, MA
       The defendant asks for leave to amend its witness list as may become
appropriate and necessary during the
                                                         Respectfully submitted
                                                         CHRISTOPHER CLOUGH
                                                         by his attorney,

                                                         /s/ Patrick J. Richard

                                                         Patrick J. Richard
                                                         11 Kearney Square
                                                         Lowell, MA. 01852
                                                         (978) 458-4279
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                                  CERTIFICATION

       I certify that a copy of the within Motion to Continue has been served upon
Assistant United States Attorney Charles Rombeau via ECF on December 6, 2018.


                                               /s/ Patrick J. Richard
                                               ________________________
                                               Patrick J. Richard




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